           Case 2:13-cr-00160-TLN-AC Document 179 Filed 11/13/15 Page 1 of 2


     Shari Rusk, Bar No. 170313
1    Attorney at Law
     PO Box 188945
2    Sacramento, California 95818
     Tel: (916) 804-8656
3    Email: Rusklaw@comcast.net
4

5                         IN THE UNITED STATES DISTRICT COURT

6                        FOR THE EASTERN DISTRICT OF CALIFORNIA

7
                                                ) Case No.: CR.S. 13-160 MCE
8    United States of America,                  )
                                                ) STIPULATION TO CONTINUE JUDGEMENT &
9                 Plaintiff,                    ) SENTENCING
                                                )
10        vs.                                   ) Court: Hon. Morrison C. England
      Sakhanskiy, et.al.                        ) Time:     9:00 a.m.
11                                              ) Date:     December 17, 2015
                  Defendants.                   )
12                                              )
13

14                                          STIPULATION

15
           Plaintiff United States of America, by and through its counsel of record, and
16
     defendants, by and through their counsel of record, hereby stipulate to the following
17
     pre-sentence schedule:
18
           Informal Objections:                  November 19, 2015
19         Pre-sentence Report Disclosed:       November 26, 2015

20         Sentencing Memorandum:               December 3, 2015

21         Reply or Non-opposition:             December 10, 2015

22         Judgment & Sentencing:               December 17, 2015

     ///
23
     ///
24
     ///
25
     ///
26
     ///
27   ///

28   ///




                                                -1-
           Case 2:13-cr-00160-TLN-AC Document 179 Filed 11/13/15 Page 2 of 2


              The parties request a sentencing date of December 17, 2015 and that date is
1
     available with the court.
2
              IT IS SO STIPULATED.
3
     Dated: November 5, 2015                   Respectfully submitted,
4

5
                                               __/s/ Shari Rusk___
                                              Shari Rusk
6
                                               Attorney for Defendant
                                               Larisa Sakhanskiy
7

8
                                               /s/ Mark J. Reichel____
                                               Mark J. Reichel
9
                                               Attorney for Defendant
                                               Alexander Sakhaniskiy
10

                                               /s/ Nirav Desai
11
                                               Nirav Desai
                                               Assistant United States Attorney
12

13
              IT IS SO ORDERED.
14
     Dated:     November 12, 2015
15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                                 -2-
